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 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10                                   SOUTHERN DIVISION
11
                                                 )
12                                               )     Case No.: SAMC 17-00005-CJC(JPRx)
                                                 )     Case No.: SEE ATTACHED LIST
13                                               )
     IN RE: PFIZER                               )
14                                               )
                                                 )
15                                               )     ORDER GRANTING PLAINTIFFS’
                                                 )     MOTION TO REMAND
16                                               )
                                                 )
17                                               )
                                                 )
18

19

20   I. INTRODUCTION
21

22         This proceeding involves over 100 cases that were previously filed in California
23   state court by thousands of women alleging that use of the drug Lipitor caused them to
24   suffer from Type II diabetes. The cases were removed to federal court based on “mass
25   action” jurisdiction pursuant to the Class Action Fairness Act (“CAFA”) and then
26   consolidated under a master case number for administrative purposes. (See Attached
27   List.) Before the Court is Plaintiffs’ consolidated motion to remand the cases back to
28   state court on the ground that 100 or more plaintiffs have not proposed that their cases be

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 1   tried jointly as is required for mass action jurisdiction. (Dkt. 8 [Motion, hereinafter
 2   “Mot.”].) After considering the evidence and the arguments presented by the parties, the
 3   Court GRANTS Plaintiffs’ motion to remand. Although many plaintiffs have proposed a
 4   joint trial, 100 plaintiffs have not done so.
 5

 6   II. BACKGROUND
 7

 8         In their original complaints filed in California state court, Plaintiffs alleged that
 9   Lipitor, a prescription drug developed and manufactured by Pfizer, Inc., and marketed
10   and distributed by McKesson Corporation, caused them to suffer from Type II diabetes.
11   (Id. at 3.) On August 16, 2013, three such plaintiffs filed a petition with the California
12   Judicial Council to have their individual cases coordinated in a Joint Council Coordinated
13   Proceeding (“JCCP”) pursuant to California Code of Civil Procedure Section 404. (Dkt.
14   9 [Declaration of Charles G. Orr, hereinafter “Orr Decl.”] ¶ 2; id. Ex. A.) After
15   additional plaintiffs filed similar state court actions, a group of twenty-one plaintiffs from
16   eight state court cases, including the three from the original petition, filed an amended
17   coordination petition on September 25, 2013. (Id. ¶ 3; id. Ex. B Pt. 1 at 2–10 [hereinafter
18   “Am. Pet.”].) The amended petition stated that it was “based upon the criteria codified in
19   California Code of Civil Procedure § 404.1. That is, in the LIPITOR® cases sought to be
20   coordinated herein:
21

22
                  One judge hearing all of the actions for all purposes in a
                  selected site or sites will promote the ends of justice taking into
23                account whether common questions of fact or law are
24
                  predominating and significant to the litigation; the convenience
                  of parties, witnesses, and counsel; the relative development of
25                the actions and the work product of counsel; the efficient
26
                  utilization of judicial facilities and manpower; the calendar of
                  the courts; the disadvantages of duplicative and inconsistent
27                rulings, orders, or judgments; and, the likelihood of settlement
28
                  of the actions without further litigation should coordination be
                  denied.”
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 1   (Am. Pet. at 6–7 (quoting almost verbatim the requirements of Cal. Civ. Proc. Code
 2   § 404.1) (emphasis added).) The amended petition specified that coordination would
 3   “promote the ends of justice because there are common issues of fact and law, namely the
 4   adequacy of the . . . LIPITOR® warning labels, and coordination will avoid duplicative
 5   and inconsistent rulings, orders, and judgments.” (Id. at 8.) It also stated that counsel for
 6   those twenty-one plaintiffs named in the amended petition “is informed and believes that
 7   additional LIPITOR® injury cases will be filed within the next weeks. Petitioners will
 8   seek to join these additional cases via Add-On Petitions.” (Id. at 7.)
 9

10         The memorandum of points and authorities supporting the amended petition
11   further explained that the cases will “involve duplicative requests for the same defendant
12   witness depositions and the same documents related to the development, manufacturing,
13   testing, marketing and sale of LIPITOR®. Absent coordination of these actions by a
14   single judge, there is a significant likelihood of duplicative discovery, waste of judicial
15   resources and possible inconsistent judicial rulings on legal issues.” (Orr Decl. Ex. B Pt.
16   1 at 11–19 [hereinafter “MPA”] at 3; see also id. at 7 (“[T]here will be duplicative
17   discovery obligations upon the common defendants unless coordination is ordered.
18   Coordination before initiation of discovery in any of these cases will eliminate waste of
19   resources and will facilitate economy.”).) It reiterated the concern of preserving judicial
20   resources and avoiding “duplicative and inconsistent rulings, orders, or judgments.” (Id.
21   at 7–8.) It further represented that “issues likely to be raised in this action include issues
22   pertaining to liability, allocation of fault and contribution, as well as the same wrongful
23   conduct of defendants. Such difficult issues may ultimately be addressed by the
24   California Court of Appeal. Coordination is required in order to avoid duplicative efforts
25   and inconsistent rulings.” (Id. at 8.) The amended petition was also accompanied by an
26   attorney declaration which stated that “[w]ithout coordination, two or more separate
27   courts will decide essentially the same issues and may render different rulings on liability
28   and other issues.” (Orr Decl. Ex. B. Pt. 1 at 27–32 [hereinafter “Finson Decl.”] ¶ 11.)

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 1         On December 6, 2013, the Judicial Council granted the request for coordination
 2   and created a JCCP with the special title of “Lipitor Cases,” but only included the three
 3   cases from the original petition in the JCCP. (Id. ¶ 4; id. Ex. C.) The JCCP was assigned
 4   to Judge Kenneth R. Freeman of Los Angeles Superior Court. (Id. ¶ 5; id. Ex. D.) On
 5   January 13, 2014, Judge Freeman entered an order granting an add-on petition whereby
 6   four plaintiffs in another state court action sought to be added to the JCCP, bringing the
 7   total number of plaintiffs in the JCCP to seven. (Orr Decl. ¶ 6; id. Ex. E.)
 8

 9         The next day, Pfizer exercised an automatic peremptory challenge to Judge
10   Freeman’s assignment as coordination judge for the JCCP, (id. ¶ 7; id. Ex. F), so the
11   JCCP was reassigned to Judge Jane Johnson, (id. ¶ 8; id. Ex. G). Judge Johnson entered
12   orders granting add-on petitions filed by two plaintiffs who had been named in the
13   amended coordination petition but not included in the initial order creating the JCCP,
14   bringing the total number of plaintiffs in the JCCP to nine. (Id. ¶¶ 9–10; id. Exs. H, I.)
15   Fifty-three more plaintiffs sought to be added to the JCCP through add-on petitions,
16   including fifteen more plaintiffs who had been named in the amended coordination
17   petition but not included in the initial order creating the JCCP. (Id. ¶¶ 11–13; id. Exs. J,
18   K, L.) These petitions are still pending. Thus, to date only sixty-five plaintiffs have
19   sought to be coordinated in the JCCP—nine were actually coordinated, fifty-three still
20   have pending petitions, and three more were named in the amended coordination petition
21   but have not filed add-on petitions to be coordinated after they were left out of the initial
22   order creating the JCCP.
23

24         On February 24, 2014, the parties had their first and only status conference in state
25   court before Pfizer started removing the cases to federal court. (Orr Decl. Ex. M.) At the
26   conference, counsel for the JCCP plaintiffs (hereinafter “JCCP Counsel”) provided Judge
27   Johnson with a chart demonstrating that at that point in time, there were at least fifty-four
28   cases concerning similar effects of Lipitor filed in California, which encompassed 1,855

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 1   plaintiffs. (Id. at 5:20–6:4; 6:16–17.) JCCP Counsel explained that they have “had total
 2   transparency with respect to communications of lawyers both in California and nationally
 3   who had any interest in or doing anything [sic] litigation involving Lipitor,” (id. at 7:2–
 4   5), and presented Judge Johnson with a proposed “leadership structure” comprising of an
 5   executive committee and a steering committee to handle the rapidly-expanding litigation,
 6   (id. at 7:15–18). JCCP Counsel had also “given every lawyer who’s interested at all in
 7   participating in the organizational structure and leadership, the opportunity to contact
 8   [them] and . . . enter their willingness or interest in being part of the leadership structure,”
 9   and had not turned down a single lawyer who expressed such interest. (Id. at 11:7–17.)
10   They further represented that they “know lawyers that are filing the cases,” “know who is
11   interested in participating in leadership and who’s not,” and hoped “to get the cases that
12   have been filed obviously added on [to the JCCP] as soon as possible.” (Id. at 11:19–21,
13   15:22–23.) Counsel for both parties then sought clarification regarding the details of
14   coordination, and the following exchange took place:
15

16
           MR. KIESEL: And that’s for discovery purposes; that they are
           coordinated together for discovery.
17

18
           THE COURT: Right.

19         MR. CHEFFO: Well, would they be sent back?
20
           THE COURT: They can be sent back. They can be sent back for trial.
21         Yes, they can be sent back.
22
           MR. CHEFFO: So the coordination order is with respect to discovery?
23

24
           THE COURT: Everything is sort of bundled here for case
           management and discovery. And they can be tried here, but they can
25         be sent back for trial.
26

27   (Id. at 17:13–23.)
28


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 1         On March 4, 2014, Judge Johnson signed a proposed order to streamline the
 2   procedures for adding new cases to the JCCP through additional add-on petitions. (Dkt.
 3   13-1 [Declaration of Marshall Searcy, hereinafter “Searcy Decl.”] at Ex. C.) The order
 4   regarding add-on procedures stated that “[a]ll cases filed in California state court against
 5   Pfizer, Inc. or McKesson Corporation, alleging injuries related to the development of
 6   Type II diabetes, and seeking damages, injunctive relief, or restitution arising from the
 7   investigation of Lipitor®, are assigned to the Honorable Jane L. Johnson,” and the
 8   “parties to such actions, however, are still required to comply with the stipulation or
 9   notice add-on procedures set forth in this Order.” (Id. at 1.) The order further explained
10   that after the parties filed either stipulated or noticed add-on petitions, any party named in
11   such a petition would have ten days from the date of service to file a notice of opposition
12   to the coordination. (Id. at 3.) If no notice of opposition was filed, the cases identified in
13   such add-on petitions would be automatically added to the JCCP. (Id. at 3–4.)
14

15         Beginning on March 12, 2014, Pfizer began removing the state court actions,
16   including cases that had not been named in the amended coordination petition or add-on
17   petitions, to federal court on the grounds of diversity jurisdiction (fraudulent joinder) and
18   mass action jurisdiction pursuant to CAFA. (Orr Decl. ¶ 15; Dkt. 13 [Opposition,
19   hereinafter “Opp.”] at 9–10.) Pfizer also requested a stay in federal district court pending
20   transfer of the cases to Multi-District Litigation (“MDL”) court in South Carolina. (Id.
21   ¶ 16.) “While some removed plaintiffs acquiesced in the transfer of their cases to the
22   MDL and chose at that time not to seek remand to California state court, many removed
23   plaintiffs immediately advised the MDL court that they would be seeking remand to
24   California and asked the MDL court to stay their actions pending determination of the
25   threshold question of federal subject matter jurisdiction.” (Id.) The MDL court did so,
26   (id. Ex. N), and then in June 2014 determined that diversity jurisdiction did not exist, In
27   re Lipitor (Atorvastatin Calcium) Mktg., Sales Practices & Prod. Liab. Litig., No. 2:14-
28   CV-01810, 2016 WL 7335738, at *6 (D.S.C. Nov. 7, 2016). Because the only remaining

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 1   basis for federal subject matter jurisdiction was CAFA’s mass action provision, and
 2   because a majority of plaintiffs did not consent to transfer to MDL, the MDL court
 3   recommended that the Judicial Panel on Multidistrict Litigation remand the cases. (Id. at
 4   *7–*8.) The cases were then transferred back to this Court. By the last count, Plaintiffs
 5   have filed more than 140 California state court actions involving 4,800 plaintiffs, which
 6   have been removed to federal courts in all four districts of California. (Id. at 10.)
 7   Plaintiffs now ask this Court to remand the cases to state court on the grounds that the
 8   mass action removal requirements of CAFA are not met. (See generally Mot.)
 9

10   III. DISCUSSION
11

12         CAFA provides federal district courts with original jurisdiction over “mass
13   actions,” which are defined as “any civil action . . . in which monetary relief claims of
14   100 or more persons are proposed to be tried jointly on the ground that the plaintiffs’
15   claims involve common questions of law or fact.” 28 U.S.C. § 1332(d) (emphasis
16   added). Plaintiffs in a mass action, unlike in a class action, do not seek to represent the
17   interests of parties not before the court. Tanoh v. Dow Chem. Co., 561 F.3d 945, 953 (9th
18   Cir. 2009). However, a mass action “shall be deemed to be a class action” removable to
19   federal court, as long as the rest of CAFA’s jurisdictional requirements, including an
20   aggregate amount in controversy above $5 million and minimal diversity, are met. Id.
21   “Although CAFA[]extends federal diversity jurisdiction to both class actions and certain
22   mass actions, the latter provision is fairly narrow. As noted above, CAFA’s ‘mass
23   action’ provision applies only to civil actions in which the ‘monetary relief claims of 100
24   or more persons are proposed to be tried jointly.’” Id.
25

26   //
27   //
28   //

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 1          A. A Proposal for a Joint Trial Was Made
 2

 3          Plaintiffs’ motion explains that “at the time the amended coordination petition was
 4   filed, the attorneys who drafted the petition believed they were proposing coordination
 5   for pretrial proceedings only.”1 (Dkt. 15 [hereinafter “Reply”] at 3n.1.) However,
 6   Plaintiffs do not seriously challenge Pfizer’s position that the amended coordination
 7   petition proposed a joint trial, (see generally id.; Mot.). Nor could they.
 8

 9          As “masters of their complaints,” plaintiffs are permitted to structure actions to
10   avoid federal jurisdiction under CAFA. Corber v. Xanodyne Pharm., Inc., 771 F.3d
11   1218, 1223 (9th Cir. 2014). But they are “also the masters of their petitions for
12   coordination. Stated another way, when we assess whether there has been a proposal for
13   joint trial, we hold plaintiffs responsible for what they have said and done.” Id. Here,
14   JCCP Counsel requested a joint trial on behalf of the plaintiffs named in the amended
15   coordination petition and add-on petitions. The amended petition incorporated the
16   language of Section 404.1 and requested coordination “for all purposes.” (Am. Pet. at
17   6–7 (emphasis added).) It explained that plaintiffs sought to avoid not only duplicative
18   and inconsistent rulings and orders, but also judgments. (Id. at 8.) The accompanying
19   memorandum of points and authorities contained considerable language about
20   coordination for discovery purposes, (MPA at 3, 7), but again reiterated the need to avoid
21
     1
       In Romo v. Teva Pharm. USA, Inc., 731 F.3d 918 (9th Cir. 2013), rehearing en banc granted and
22
     decision vacated, 742 F.3d 909 (Feb. 10, 2014), the Ninth Circuit considered whether, as a matter of
23   first impression, a coordination petition pursuant to California Code of Civil Procedure Section 404
     constituted a proposal for a joint trial, and concluded that it did not. Id. at 921–23. Romo was issued the
24   day before Plaintiffs filed their amended petition. Romo analyzed the coordination petitions and
     supporting memorandum of points and authorities and concluded that although the memorandum
25   encouraged coordination of “all of the actions for all purposes” and sought to avoid “inconsistent
     judgments” and “conflicting determinations of liability,” the “obvious focus” of the petition was on
26
     “pretrial proceedings, i.e., discovery matters.” Id. at 922–23. On February 10, 2014, however, the Ninth
27   Circuit granted rehearing en banc and vacated the decision. Romo v. Teva Pharm. USA, Inc., 742 F.3d
     909 (9th Cir. 2014). In Corber v. Xanodyne Pharm., Inc., 771 F.3d 1218 (9th Cir. 2014), described
28   below, the Ninth Circuit reexamined the coordination petitions in Romo and concluded that they did
     propose a joint trial. Id. at 1223.
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 1   “duplicative and inconsistent rulings, orders, or judgments,” (id. at 7–8 (emphasis
 2   added)). Notably, it explained the need to avoid “duplicative efforts and inconsistent
 3   rulings” on “issues pertaining to liability, allocation of fault and contribution, as well as
 4   the same wrongful conduct of defendants” because they might “ultimately be addressed
 5   by the California Court of Appeal.” (MPA at 8 (emphasis added).) Finally, the
 6   accompanying attorney declaration expressed the desire to avoid inconsistent “rulings on
 7   liability and other issues.” (Finson Decl. ¶ 11 (emphasis added).) The amended petition
 8   clearly stressed a need for coordination beyond pre-trial proceedings.
 9

10         The language of the amended petition and supporting documents is substantially
11   similar to that in Corber, in which the Ninth Circuit en banc considered whether
12   coordination petitions constituted a proposal for a joint trial. Corber, 771 F.3d 1218.
13   Corber focused heavily on the text of the petitions and supporting documents and
14   explained that while the petitions did not expressly request a “joint trial,” they sought
15   coordination “for all purposes,” just as the petition in this case does. Id. at 1223. Corber
16   reasoned that read literally, “‘[a]ll purposes’ must include the purposes of trial.” Id. The
17   Court also noted that the petitions’ stated reasons for coordination, namely the danger of
18   inconsistent judgments and conflicting determinations of liability, further supported the
19   conclusion that they sought a joint trial. Id. at 1223–24. The Corber plaintiffs had not
20   simply recited the factors articulated in Section 404.1, but asserted that “‘[t]he
21   inevitability of realizing the inconsistency and duplication factor of California Code of
22   Civil Procedure Section 404.1[ ] weighs heavily in favor of coordination,’” that “‘issues
23   pertaining to liability, allocation of fault and contribution, as well as the same wrongful
24   conduct of defendants,’ would require coordination,” and “repeatedly stated that the
25   factors catalogued in section 404.1 all supported coordination, including the fact that
26   ‘[o]ne judge hearing all of the actions for all purposes in a selected site or sites will
27   promote the ends of justice.’” Id. at 1224. Here too, the amended petition did not simply
28   recite the Section 404.1 factors, but rather it repeatedly noted the need to avoid

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 1   inconsistent judgments and rulings on issues of liability, which could ultimately come
 2   before the California Court of Appeal. (Am. Pet. at 8; MPA at 7–8; Finson Decl. ¶ 11.)
 3

 4          Corber clarified that not all petitions for coordination under Section 404 are “per
 5   se proposals to try cases jointly for the purposes of CAFA’s mass action provision.”
 6   Corber, 771 F.3d at 1224. A coordination petition that “expressly seeks to limit its
 7   request for coordination to pre-trial matters” would align with the CAFA carve-out for
 8   claims that have been consolidated or coordinated solely for pretrial proceedings.2 Id.
 9   Although JCCP Counsel represented at the February 25, 2014, status conference in state
10   court that their primary concern was coordination for purposes of discovery, the language
11   of the amended coordination petition was not limited to pre-trial matters. (Orr Decl. Ex.
12   M at 17:13–23.) It clearly proposed coordination for judgments and proceedings that
13   would involve issues of liability, and the Court must hold the plaintiffs who submitted the
14   amended petition and accompanying add-on petitions responsible for this proposal of a
15   joint trial. Corber, 771 F.3d at 1223.
16

17          B. 100 or More Plaintiffs Did Not Propose a Joint Trial
18

19          The real dispute among the parties is whether there was a proposal that 100
20   plaintiffs’ cases be tried jointly. The Ninth Circuit has so far declined to specify exactly
21   who must make a proposal for a joint trial to trigger CAFA’s mass action provision,
22   which encompasses cases “in which monetary relief claims of 100 or more persons are
23   proposed to be tried jointly.” Briggs v. Merck Sharp & Dohme, 796 F.3d 1038, 1047 (9th
24   Cir. 2015) (emphasis added) (citing 28 U.S.C. § 1332(d)(11)(B)(i)) (declining to decide
25   whether a proposal for a joint trial could come from a judge). The Ninth Circuit has only
26
     2
27    Corber also noted that “[i]t is not clear whether the California Judicial Council would grant
     coordination for less than ‘all purposes.’ However, if Plaintiffs had qualified their coordination request
28   by saying that it was intended to be solely for pre-trial purposes, then it would be difficult to suggest that
     Plaintiffs had proposed a joint trial.” Corber, 771 F.3d at 1224–25.
                                                          -10-
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 1   held that it is insufficient for a proposal for a joint trial to come from a defendant. Id. at
 2   1048. However, in Briggs, the Ninth Circuit recently clarified that although “implicit
 3   proposals may trigger CAFA’s removal jurisdiction,” a “proposal for purposes of
 4   CAFA’s mass action jurisdiction, even an implicit proposal, is a ‘voluntary and
 5   affirmative act’ . . . and an ‘intentional act.’” Id. at 1048 (emphasis added) (quoting
 6   Corber, 771 F.3d at 1224 and Parson v. Johnson & Johnson, 749 F.3d 879, 888 (10th
 7   Cir. 2014)). “It is ‘not a mere suggestion’” or “a mere prediction.” Id. (quoting Scimone
 8   v. Carnival Corp., 720 F.3d 876, 883 (11th Cir. 2013)).3
 9

10          Plaintiffs insist that at most only sixty-five plaintiffs proposed that their cases be
11   jointly tried, because that is the maximum number of plaintiffs that ever attempted to join
12   the JCCP. (Mot. at 21.) They maintain that the rest of the plaintiffs did nothing more
13   than file their complaints in state court, and the plaintiffs in the JCCP cannot bind other
14   plaintiffs who have not yet been added through an add-on petition or other means. (Id. at
15   16–19 (citing Tanoh, 561 F.3d at 953–54 and Briggs, 796 F.3d at 1049).) The Court
16   agrees.
17

18          Only the sixty-five plaintiffs who were named in the amended coordination
19   petition or add-on petitions have acted voluntarily and affirmatively to propose a joint
20   trial. While most of these plaintiffs’ add-on petitions are still pending, and a few who
21   were included in the amended petition and left out of the initial order creating the JCCP
22   did not subsequently file an add-on petition, these sixty-five plaintiffs each proposed, in
23   some form or another, that their cases be tried jointly. This number, however, falls short
24   of the required 100 plaintiffs in CAFA’s mass action provision.
25
     3
      Briggs also explained that “[w]hile Corber held that an initial petition for a JCCP can constitute a
26
     proposal, it is not clear whether an add-on petition can constitute a proposal as well—particularly where,
27   as here, the claims in the add-on petition would not meet CAFA’s hundred-person threshold unless
     added to claims that had previously been joined ‘upon motion of a defendant.’” Briggs, 796 F.3d at
28   1050. Briggs did not reach this issue, however, because “even if the . . . plaintiffs’ add-on petition could
     be construed as a proposal, it was not a proposal for a joint trial.” Id.
                                                         -11-
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 1          Pfizer argues that JCCP Counsel proposed joining thousands of plaintiffs to the
 2   coordinated action by “repeatedly stat[ing] that they would seek to add ‘all subsequent
 3   LIPITOR actions.’” (Opp. at 2–3, 7.) Contrary to Pfizer’s assertion, JCCP Counsel’s
 4   statements are insufficient to trigger CAFA mass action jurisdiction, because they are
 5   merely suggestions or predictions—not voluntary and affirmative acts proposing a joint
 6   trial on behalf of the remaining plaintiffs. Although JCCP Counsel provided Judge
 7   Johnson with a list of all known Lipitor actions filed in California State Court at the time
 8   of the February 25, 2014, status conference, this did not “unambiguously inform[]
 9   [Pfizer] to a substantial degree of specificity” that the claims of at least 100 Plaintiffs had
10   been proposed to be tried jointly. (See Opp. at 14–15 (citing Portnoff v. Janssen Pharm.,
11   Inc., 2017 WL 708745, at *6 (E.D. Pa. Feb. 22, 2017).) It merely alerted Judge Johnson
12   and Pfizer to additional cases that could potentially be coordinated. Pfizer is correct that
13   the statutory question is whether a joint trial has been proposed, not whether it will
14   actually take place. (Opp. at 14.) However, absent add-on petitions or similar
15   affirmative actions or definitive commitments by the remaining plaintiffs or their
16   attorneys, they have not proposed a joint trial.4
17

18          Pfizer also notes that JCCP Counsel represent at least 2,823 plaintiffs in 77 Lipitor
19   actions, and have stated that they are in close communication with the attorneys working
20   on the rest of the Lipitor cases. (Opp. at 2–3.) Pfizer apparently believes that the fact
21   that JCCP Counsel are working on additional cases that have not yet filed add-on
22   petitions and are cooperating with other plaintiffs’ attorneys is enough to impute the joint
23

24
     4
       It is important to note that the legislative history of the mass action provision supports the view that it
25   is the 100 or more plaintiffs themselves who must propose the joint trial. The legislative history
     provides that “subsection 1332(d)(11) expands federal jurisdiction over mass actions–suits that are
26
     brought on behalf of numerous named plaintiffs who claim that their suits present common questions of
27   law or fact that should be tried together even though they do not seek class certification status. . . . Under
     subsection 1332(d)(11), any civil action in which 100 or more named parties seek to try their claims for
28   monetary relief together will be treated as a class action for jurisdictional purposes.” S. Rep. 109-14, at
     46, 2005 U.S.C.C.A.N. 3, at 43–44 (emphasis added).
                                                          -12-
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 1   trial proposal of the sixty-five plaintiffs onto remaining plaintiffs. This is unpersuasive,
 2   because it is the identities and actions of the clients, not that of the attorneys, that matters.
 3   JCCP Counsel have not acted on behalf of any plaintiffs beyond the aforementioned
 4   sixty-five —JCCP Counsel have merely represented that they anticipate many additional,
 5   unspecified cases will be coordinated. Neither the actions of the sixty-five plaintiffs nor
 6   JCCP Counsel can be imputed to the remaining plaintiffs here.
 7

 8         The Court also finds Pfizer’s attempts to minimize the effects of Briggs unavailing.
 9   (See Opp. at 18–19.) The Court is aware that in Briggs, it was the defendants who had
10   initiated coordination proceedings, and the plaintiffs had only represented to the district
11   judge that their cases would likely be joined for trial in the state court JCCP if they were
12   remanded. Briggs, 796 F.3d. at 1049. Briggs reasoned that the plaintiffs had not made
13   proposals that could trigger CAFA mass action jurisdiction simply by “filing their cases
14   in the California state court system, when a consolidated proceeding covering similar
15   claims, initiated by defendants, was underway in California court,” or by representing to
16   the federal district court “what would or might happen to their cases, if they were
17   remanded to the state court,” especially since the district court lacked authority to add
18   cases to the state court JCCP. Id. In this case, unlike in Briggs, plaintiffs initiated the
19   JCCP and had made representations to the JCCP court regarding their desire to
20   coordinate additional cases. Nevertheless, Briggs’ holding that a “proposal” is a
21   “voluntary and affirmative” act clearly applies here. And only sixty-five plaintiffs have
22   proposed a joint trial. No other plaintiff has acted voluntarily and affirmatively to be part
23   of or be bound by that proposal.
24

25         Pfizer also contends that the remaining plaintiffs took other affirmative steps in
26   their complaints to propose a joint trial. Apparently, more than 100 Lipitor cases
27   involving 3,400 plaintiffs have civil cover sheets attached to their complaints indicating
28   that the cases are “complex” pursuant to California Rules of Court 3.400 because they are

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 1   subject to “[c]oordination with related actions pending in one or more courts in other
 2   counties, states, or countries, or in federal court;” fifty-nine state court complaints
 3   included notices of related cases stating that the case was related to the JCCP before
 4   Judge Johnson; twenty-five attached copies of an order entered by Judge Johnson limiting
 5   Plaintiffs’ complex case fees for “all new add-on cases joined to this coordinated
 6   proceeding;” and four identified the JCCP in their case captions. (Opp. at 3, 8–9; 9 n.5.)
 7   However, these actions are all administrative in nature and merely alert the clerk’s office
 8   to the possibility of coordination in order to assist with case sorting and management.
 9   They do not constitute voluntary and affirmative acts by each plaintiff to be part of and
10   bound by a proposal for a joint trial.5 See Briggs, 796 F.3d. at 1049 (The plaintiffs had
11   not made a proposal for a joint trial by simply “filing their cases in the California state
12   court system, when a consolidated proceeding covering similar claims . . . was underway
13   in California court.”).
14

15          Nor can the Court assume that at least thirty-five more plaintiffs will be
16   coordinated in this action because of the sheer number of plaintiffs that have filed Lipitor
17   cases. Plaintiffs are free to structure actions to avoid CAFA jurisdiction. Corber, 771
18   F.3d at 1223 (“[P]laintiffs are the ‘masters of their complaint’ and do not propose a joint
19   trial simply by structuring their complaints so as to avoid the 100-plaintiff threshold.”).
20   The plaintiffs who are not yet part of the JCCP could have many legitimate reasons for
21   not wanting a joint federal trial. For example, some plaintiffs might seek to distance
22   themselves from those with seemingly weaker claims or from those who will be
23   preoccupied with defenses unique to them. Other plaintiffs who have suffered more
24

25   5
      The parties debate whether the coordination petitions in Corber explicitly encompassed at least 100
     plaintiffs or whether the effects of the coordination petitions were merely imputed onto other plaintiffs.
26
     (See Opp. at 15–16; Reply at 3–5, 4 n.2.) This fact was not discussed in Corber and its implications
27   were not argued or addressed in the opinion. See generally Corber, 771 F.3d 1218. Corber only
     analyzed the narrow question of whether the coordination petitions were sufficient to constitute
28   proposals, not whether they could bind plaintiffs that were not explicitly named in the coordination
     petitions or add-on petitions. Id. at 1222.
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 1   severe injuries or consequences, such as stroke, blindness, and amputation, or who are
 2   bringing suit on behalf of a deceased family member, may not wish to have their claims
 3   tried jointly with patients who have had milder injuries or consequences. The Court will
 4   not speculate, nor base its jurisdictional decision, on whether thirty-five or more plaintiffs
 5   will likely take voluntary and affirmative action to be part of and bound by a proposal for
 6   a joint trial. All that matters for the Court’s decision now is that at least thirty-five
 7   additional plaintiffs have not yet taken such voluntary and affirmative action.
 8

 9         Finally, Pfizer suggests that Judge Johnson herself has proposed a joint trial of 100
10   or more plaintiffs because her order regarding add-on procedures states that “[a]ll cases
11   filed in California state court against Pfizer, Inc. or McKesson Corporation, alleging
12   injuries related to the development of Type II diabetes . . . are assigned to the Honorable
13   Jane L. Johnson, Los Angeles Superior Court for purposes of coordination.” (Opp. at 14
14   (citing Searcy Decl. Ex. C at 1).) Pfizer submits that because the Ninth Circuit has left
15   open the possibility that “a state court’s sua sponte joinder of claims might allow a
16   defendant to remove separately filed actions to federal court as a single ‘mass action’
17   under CAFA,” Judge Johnson’s order should give rise to mass action jurisdiction. (Id. at
18   14 n.7 (citing Tanoh, 561 F.3d at 956).) The Court disagrees. The sentence immediately
19   following the one Pfizer cites clarifies that “[t]he parties to such actions, however, are
20   still required to comply with the stipulation or notice add-on procedures set forth in this
21   Order.” (Searcy Decl. Ex. C at 1 (emphasis added).) By the express terms of Judge
22   Johnson’s order, the additional cases will not be part of the JCCP or subject to the terms
23   of the coordination petition unless and until they are added by an add-on petition and not
24   subject to a notice of opposition. Indeed, Judge Johnson has only granted two add-on
25   petitions thus far, bringing the total number of plaintiffs in the JCCP to just nine. (Orr
26   Decl. Exs. H, I.) Moreover, at the status conference, Judge Johnson repeatedly stated that
27   the JCCP cases “can be sent back for trial,” so it is far from clear whether Judge
28


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 1   Johnson’s order is even proposing a joint trial, let alone one involving 100 or more
 2   plaintiffs. (Orr Decl. Ex. M at 17:13–23.)
 3

 4   IV. CONCLUSION
 5

 6         Since less than 100 plaintiffs have proposed that their cases be tried jointly, the
 7   Court does not have jurisdiction under CAFA’s mass action provision and all Lipitor
 8   cases presently before this Court must be remanded to state court. Accordingly,
 9   Plaintiffs’ motion to remand is GRANTED.
10

11

12         DATED:       May 23, 2017
13                                                 __________________________________
14                                                        CORMAC J. CARNEY
15                                                 UNITED STATES DISTRICT JUDGE
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   Maizy Benons et al v. Pfizer Inc et al      2:14-cv-01831 CJC (JPRx)
   Linda Roy et al v. Pfizer Inc et al         2:14-cv-01832 CJ C(JPRx)
   Brenda Johnson et al v. Pfizer Inc et       2:14-cv-01836 CJC (JPRx)
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   Tonya Baker et al v. Pfizer Inc et al     2:16-cv-08542 CJ C(JPRx)
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